Case 0:23-cv-61354-DMM Document 42 Entered on FLSD Docket 02/22/2024 Page 1 of 6




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  Case No.: 0:23-cv-61354-kmm


  PROGRESSIVE EXPRESS INSURANCE
  COMPANY,

                  Plaintiff,
  vs.

  RASIER-DC, LLC A FOREIGN
  LIMITED LIABILITY COMPANY;
  UBER TECHNOLOGIES, INC., A
  FOREIGN CORPORATION; AND
  KARINA MONASTERIO,
  INDIVIDUALLY,

                Defendants.
  _____________________________/


     RASIER-DC, LLC AND UBER TECHNOLOGIES, INC.’S REPLY TO KARINA
    MONASTERIO’S OPPOSITION TO PROGRESSIVE’S MOTION FOR SUMMARY
      JUDGMENT AND DEFENDANTS’ JOINDER AND ADOPTION OF SAME

         Defendants, Rasier-DC, LLC (“Rasier”) and Uber Technologies, I nc. (“Uber”)

  (collectively “Defendants”), by and through its attorneys, Roig Lawyers, in accordance with

  Rules 7.1 and 56.1 of the Local Rules for the United States District Court for the Southern

  District of Florida, submits this reply memorandum in further support of their joinder and

  adoption [DE 31] of Plaintiff/Counter-Defendant Progressive Express I nsurance Company’s

  (“Progressive”) Motion for Summary Judgment. [DE 30]. Defendants also join and adopt

  Progressive’s Reply to Monasterio’s opposition. [DE 41]. In support thereof, Defendants state as

  follows:
Case 0:23-cv-61354-DMM Document 42 Entered on FLSD Docket 02/22/2024 Page 2 of 6




                                           ARGUMENT


         Plaintiff/Counter Defendant Progressive originally brought this coverage dispute against

  Karina Monasterio (“Monasterio”), Rasier and Uber seeking a declaration that Progressive had

  neither the contractual obligation nor statutory duty to provide UM/UIM coverage (“UM/UIM”)

  under Florida’s Transportation Network Company (“TNC”) and UM/UI M statutes. Uber

  agrees. At issue in this litigation is Monasterio’s erroneous assertion that she is entitled to $1M

  in UM/UIM simply because the TNC statute says the words “uninsured and underinsured vehicle

  coverage” and ignores the fact the legislature expressly granted TNCs the same right to reject

  UM/UI M or select lower limits as every other Florida policyholder subject to the UM/UI M

  statute. Although Monasterio presents this as a complicated issue of first impression in Florida,

  this issue before this court is straightforward: Progressive’s policy does not provide UM/UI M

  coverage because Defendants lawfully rejected UM/UI M coverage, and Florida law neither

  mandates nor requires such coverage.

                 A.      A Louisiana Appellate Court Analyzed Nearly Identical TNC and
                         UM/UIM Statutes to Correctly Find TNCs Could Reject UM/UIM.

         While Monasterio’s opposition to summary judgment focuses on the novelty of this issue

  in Florida, Defendants take this opportunity to alert this court to an analogous ruling from

  Louisiana that this court may find persuasive.


         In Jean v. James River Insurance Company, Louisiana’s Fourth Circuit Court of Appeal

  affirmed the lower court’s ruling that Transportation Network Companies, such as Uber, were

  permitted to reject underinsured motorist coverage under nearly identical statutory schemes. 274

  So. 3d 43, 2019-0041 (La. App. 4th Cir. May 29, 2019 at *1) writ denied. Louisiana’s TNC

  statute (La. 45:201.6), like Florida’s TNC statute (Fl. Stat. § 627.748), requires TNCs to


                                              Page 2 of 6
  Case No. 0:23-cv-61354-kmm
Case 0:23-cv-61354-DMM Document 42 Entered on FLSD Docket 02/22/2024 Page 3 of 6




  maintain UM/UI M, but only what is “required by” the corresponding state U M/U IM

  statute. Louisana’s UM/UIM statute (La. R.S. 22:1295), like Florida’s UM/UIM statute (Fl. St.

  § 627.727), does not require UM/UIM coverage when it is rejected by the named insured.


         The Jean v. James River court’s analysis should be applied here. The Jean court rejected

  the appellant’s argument that Uber could not reject UM/UIM coverage under the Louisiana TNC

  and UM/UIM statutes and expressly held that “La. 45:201.6 read in para materei with La. R.S.

  22:1295(1)(a)(i)-(ii) permits Uber to waive underinsured motorist coverage.” 274 So. 3d 42 at 1.

  The analysis is the same here. The Florida TNC statute, like the Louisiana TNC statute, when

  read in conjunction with the referenced UM/UIM statute, permits TNCs to reject UM/UIM like

  any other policyholder subject to the UM/UIM statute.


         The Florida legislature decided it would require $1M in li abi li ty coverage, and so

  stated. The Florida legislature decided it would require UM/UI M only as requi red by the

  UM/UIM statute, and so stated. Louisiana’s Fourth Circuit Court of Appeal found no ambiguity,

  and this court should find the same.

                 B.     The Court Should Not Consider Monasterio's New Allegations of
                        Purported Technical Issues with the Rejection Form As They Are
                        Raised for the First Time in Opposition.

         “At the summary judgment stage, the proper procedure for plaintiffs to assert a new claim

  is to amend the complaint in accordance with Fed. R. Civ. P. 15(a)...[a] plaintiff may not amend

  her complaint through argument in a brief opposing summary judgment. Gi lmour v. Gates,

  McDonald & Co., 382 F.3d 1312, 1315 (11th Cir. 2004). Nevertheless, as further support of her

  opposition, Monasterio asserts a purported technical deficiency with the UM/UIM rejection form

  signed by Uber’s Head of North American Insurance (based on “evidence” that she worked for

  Uber pulled from LinkedIn). However, improper rejection is not at issue or raised in her cross

                                             Page 3 of 6
  Case No. 0:23-cv-61354-kmm
Case 0:23-cv-61354-DMM Document 42 Entered on FLSD Docket 02/22/2024 Page 4 of 6




  action. Monasterio’s counterclaim purely seeks declaratory relief with respect to the purported

  statutory obligation to maintain $1M in UM/UIM (despite the statute saying no such thing).


         With respect to rejection, Monasterio’s counterclaim only alleges that “[the] rejection is

  not valid because it is expressly contradicted by the plain language of Fla. Stat. 627.748(7)(c)c

  and 627.748(7)(d)” (i.e., Florida’s Transportation Network Statute). (DE 22 at 23.) Nowhere in

  her counter complaint does she make reference to the signer of the rejection form lacking

  authori ty to reject UM/UI M coverage on behalf of Uber’s wholly-owned subsidiaries.

  Monasterio makes this representation for the first time in her opposition to Progressive’s motion

  for summary judgment. This court should ignore it. Although there is no merit to Monasterio’s

  allegation, allowing Monasterio to introduce new allegations through an opposition to a

  summary judgment motion would permit circumvention of the proper method for pleading new

  facts and claims: amending the complaint. See generally Lennen v. Marriot Ownership Resorts,

  Inc., 2021 WL 5834264, *16 (Dec. 9, 2021) (“it is well established that parties cannot amend

  their complaints through briefing and oral advocacy”) (internal citations omitted).


                 C.     Monasterio Confuses an U nfavorable Result for Monasterio with an
                        “Absurd Result”; the Only Absurd Result Would Be to Second Guess
                        the Will of the Legislature to Regulate an Industry and Rewrite an
                        Insurance Policy.

         Monasterio cannot create statutory ambiguity where there is none, and her invitation to

  second guess the wisdom of the Florida legislature is unavailing. Not that it is relevant to the

  unambiguous statutory scheme, but her supposed “absurd result”—a situation where a TNC

  driver’s personal auto policy denies UM/UIM—is a red herring. There are no such public policy

  concerns because drivers are free to purchase insurance to match their needs. Monasterio

  conveniently omits whether she had, or could have, purchased insurance for this loss.


                                              Page 4 of 6
  Case No. 0:23-cv-61354-kmm
Case 0:23-cv-61354-DMM Document 42 Entered on FLSD Docket 02/22/2024 Page 5 of 6




         Regulating entire industries is no small task, and it is a task this court should leave to the

  Florida legislature. An unfortunate accident and arguments raised in a motion for summary

  judgment without legal or factual basis simply cannot substitute the judgment of an elected

  legislature. The only “absurd result” would be to indulge Monasterio’s offer to overturn a clear

  statute and rewrite a lawful contract between two parties.

                 D.      Defendants Join, Adopt and Incorporate Progressive’s Reply to
                         Monasterio’s Opposition.

         Finally, Uber and Rasier hereby adopt, join and incorporate as if fully set forth herein, the

  arguments and legal authority advanced in Progressive’s reply to Monasterio’s opposition [DE

  41].


                                           CONCLU SION


         WHEREFORE, Defendants, Uber and Rasier, hereby reply to Monasterio’s opposition,

  and otherwise join in Defendant Progressive’s reply, and respectfully request an order: (i)

  granting Progressive’s motion for summary judgment with respect to its declaratory judgment;

  (ii) dismissing all claims asserted against Uber and Rasier in connection with Monasterio’s

  counterclaim in their entirety and with prejudice; and/or (iii) for whatever other relief this Court

  deems just and proper.



  Dated: Feb. 22, 2024                           Respectfully submitted,


                                                /s/ Veresa Jones Adams
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                                               Page 5 of 6
  Case No. 0:23-cv-61354-kmm
Case 0:23-cv-61354-DMM Document 42 Entered on FLSD Docket 02/22/2024 Page 6 of 6




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                                             DC, LLC



                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing has been

  furnished electronically on this 22nd day of February 2024, with the Clerk of the Court using

  CM/ECF. I also certify that the foregoing document is being served this day on all counsel of

  record via transmission of Notice of Electronic Filing generated by CM/ECF.

                                             /s/ Veresa Jones Adams
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                                            Page 6 of 6
  Case No. 0:23-cv-61354-kmm
